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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

  UNITED STATES OF AMERICA,                      )
                                                 )
         Plaintiff,                              )    Criminal No. 6:17-cr-00006-GFVT-HAI-1
                                                 )
  v.                                             )
                                                 )
  STANLEY DOPLE,                                 )                     ORDER
                                                 )
         Defendant.                              )

                                       *** *** *** ***

        This matter is before the Court on the Report and Recommendation filed by United States

 Magistrate Judge Hanly A. Ingram. [R. 42.] For the reasons that follow, Judge Ingram’s Report

 and Recommendation will be ADOPTED in its entirety.

                                                 I

        Defendant Stanley Dople has been charged with violating the terms of his supervised

 release. [R. 31.] In 2004, Mr. Dople was convicted in Tennessee state court of two counts of

 aggravated sexual battery. [R. 42 at 1.] On December 16, 2015, District Judge Thomas A.

 Varlan of the Eastern District of Tennessee entered judgment against Mr. Dople for failing to

 register under the Sex Offender Registration and Notification Act (SORNA) in violation of 18

 U.S.C. § 2250(a). [R. 1-2 at 1.] Mr. Dople began his first term of supervised release on January

 27, 2017, and his supervision was transferred to the Eastern District of Kentucky on February 28,

 2017. [R. 1.]

        On June 22, 2017, Mr. Dople admitted to using marijuana, which violated the terms of

 his supervised release. [R. 4.] However, the United States Probation Office (USPO)

 recommended that no action be taken at that time, and the Court approved this recommendation.
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 Id. Mr. Dople’s supervised release was revoked on November 7, 2017, after he stipulated to two

 charges of use of a controlled substance (marijuana), resulting commission of a crime, and

 failure to answer all inquiries from the probation officer truthfully. [R. 14; R. 15.] Mr. Dople

 was sentenced to sixteen months of imprisonment and ten years of supervised release. [R. 15 at

 2–3.] Upon release, Mr. Dople began his second term of supervised on November 23, 2018. [R.

 42 at 2.]

         Mr. Dople’s supervised release was once again revoked on August 30, 2019, after he

 stipulated to use of a controlled substance (methamphetamine), resulting commission of a crime,

 and failure to answer all inquiries from the probation officer truthfully. [R. 26; R. 27.] Mr.

 Dople was sentenced to eighteen months of imprisonment and ten years of supervised release.

 [R. 27 at 2–3.] Mr. Dople was release on November 9, 2020, to begin his third term of

 supervision.

         The USPO issued the Supervised Release Violation Report on July 7, 2021, that initiated

 these proceedings. [R. 42 at 2.] The report outlines the efforts Mr. Dople’s probation officer

 made to visit Mr. Dople at his listed address and failure of Mr. Dople to report to the probation

 officer after being instructed to do so. Id. This constitutes a Grade C violation. Id. at 3.

         On July 29, 2021, Judge Ingram conducted an initial appearance with Mr. Dople pursuant

 to Rule 32.1. [R. 33.] At the hearing, Mr. Dople knowingly, voluntarily, and intelligently

 waived his right to a preliminary hearing. Id. The United States made an oral motion for interim

 detention, and Mr. Dople requested release. Id. Given the heavy defense burden under 18

 U.S.C. § 3143(a), Judge Ingram remanded Mr. Dople to the custody of the United States

 Marshal. Id.

         On August 20, Judge Ingram conducted the final hearing. [R. 41.] At the hearing, Mr.



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 Dople entered a knowing, voluntary, and intelligent stipulation to the violation. Id. Judge

 Ingram found that Mr. Dople was competent to stipulate to the violation and that the stipulation

 was competently, knowingly, and voluntarily and intelligently entered into and was consistent

 with the advice of counsel. Id. Therefore, for the purposes of Rule 32.1 proceedings, Mr. Dople

 admitted the factual basis for the violation as described in the Report and established the

 violation under the standard for § 3583(e). At the hearing, the parties jointly recommended a

 sentence of revocation with twelve months of imprisonment, followed by twelve months of

 supervised release. Id.

                                                  II

        After the hearing, Judge Ingram carefully reviewed the entire record, including the

 Report and all accompanying documents, and the underlying Judgment and sentencing materials.

 Judge Ingram also considered the factors set forth in 18 U.S.C. § 3553, as incorporated in §

 3583(e). Section 3583(e)(3) provides that the maximum penalty for a supervised release

 violation hinges on the severity of the underlying offense of conviction. Mr. Dople’s underlying

 conviction of failing to register for the SORNA is a Class C felony, and this results in a two-year

 maximum period of incarceration following revocation pursuant to § 3583(e)(3). [R. 42 at 5.]

        Judge Ingram analyzed the Policy Statements in Chapter 7 and determined, given Mr.

 Dople’s criminal history category of IV (at the time of his original conviction in the Eastern

 District of Tennessee) and admitted Grade C violation, that Mr. Dople’s range of revocation is

 six to twelve months. Id. A court is permitted to reimpose supervised release, following

 revocation, for a maximum period that subtracts any term of incarceration imposed because of a

 violation. See 18 U.S.C. § 3583(k). The maximum period of time that Mr. Dople can be placed

 on supervision following revocation is life. Id. at 7 (citing 18 U.S.C. §§ 3583(h), (k)).]



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        In determining the appropriate revocation term of imprisonment, Judge Ingram

 considered all the statutory factors imported into the § 3583(e) analysis as well as the Guidelines

 Range. Id. at 5. Judge Ingram noted that, regarding the nature and circumstances of the

 underlying offense and need to deter criminal conduct, Mr. Dople cut off his ankle monitor and

 fled to another state, in blatant violation of the terms of his release. Id. Furthermore, Mr. Dople

 has a long history of disrespecting the law, which includes probation violations, failure to attend

 sex offender counseling, escape, and multiple felony convictions. Id. at 6. Judge Ingram also

 considered the need to provide Mr. Dople with any needed education, training or treatment. Id.

 At Mr. Dople’s final hearing, Judge Ingram discussed with Mr. Dople the possibility of

 recommending the first half of his term of supervised release at a halfway house. Id. However,

 Mr. Dople “responded to that offer with attempting to persuade the Court to lower the

 recommended sentence” and never indicated to Judge Ingram that he was trying to better

 himself. Id. Therefore, because it appears Mr. Dople would not take advantage of it, Judge

 Ingram found that further ordered treatment was not appropriate. Id.

        Judge Ingram also found that the requirement that the Court seek to avoid unwarranted

 sentencing disparities among defendants with similar records who are found guilty of similar

 conduct is addressed by a recommended sentence within the Guidelines Range. Id. at 6. Here,

 Judge Ingram is recommending a sentence that falls at the top of the Guidelines range. Id.

        Finally, Judge Ingram found that the primary wrong in the context of supervised release

 is the violation of the Court’s trust. Id. at 6. Here, the breach of trust is significant given Mr.

 Dople’s numerous prior violations. Id. Mr. Dople’s previous revocation sentence was at the top

 of the Guidelines Range, and that did not stop Mr. Dople from once again violating the terms of

 his supervised release. Id. Therefore, Judge Ingram found that a sentence of twelve months was



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 sufficient but not greater than necessary to meet the factors contained within § 3553(a). Id. at 7.

         Ultimately, Judge Ingram made the following recommendations: (1) Mr. Dople be found

 guilty of the violation in the Report; (2) Mr. Dople’s term of supervision be revoked and he be

 given a twelve-month term of imprisonment; and (3) Mr. Dople receive a twelve-month term of

 supervised release following his prison term. Id. at 7.

        Judge Ingram’s Report and Recommendation advises the parties that objections must be

 filed within fourteen (14) days of service. Id. at 8; see 28 U.S.C. § 636(b)(1). The Report and

 Recommendation also provides the parties with the consequences of failing to object within the

 provided timeframe. Id.; see Thomas v. Arn, 474 U.S. 140 (1985). Mr. Dople has not filed any

 objections to Judge Ingram’s Report and Recommendation and has provided a Waiver of

 Allocution. [R. 43.]

        Generally, this Court must make a de novo determination of those portions of the Report

 and Recommendation to which objections are made. 28 U.S.C. § 636(b)(1)(c). But when no

 objections are made, as in this case, the Court is not required to “review… a magistrate’s factual

 or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474 U.S. 140,

 151 (1985). Parties who fail to object to a magistrate judge’s report and recommendation are

 also barred from appealing to a district court’s order adopting that report and recommendation.

 United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, the Court has examined

 the record and agrees with Judge Ingram’s recommended disposition.

                                                 III

        Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

 follows:




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       1. The Report and Recommendation made as to Defendant Stanley Dople [R. 42] is

          ADOPTED as and for the opinion of the Court;

       2. Mr. Dople is found GUILTY of the violation contained in the Report;

       3. Mr. Dople’s period of supervised release is REVOKED, and he shall serve a term of

          imprisonment of twelve months; and

       4. Mr. Dople shall serve a twelve-month term of supervised release following his release

          from prison.

       This the 6th day of October, 2021.




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